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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 12-20700-CR-LENARD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 MANUEL LOZANO,

        Defendant.
                                               /

                           PROPOSED ORDER APPROVING SALE
                              OF RECEIVERSHIP PROPERTY

        THIS MATTER came before the Court on the Receiver’s Motion to Approve Sale of

 Receivership Property (DE#91) pursuant to Order Appointing Receiver (DE#84). The Court, having

 reviewed the Receiver’s Motion and being otherwise fully advised in the premises, it is hereby:

        ORDERED AND ADJUDGED AS FOLLOWS:

        1.      This Court has jurisdiction over Defendant, Manuel Lozano (“Lozano”), and the

 property which is the subject of the Receivership. The property which is the subject of the Receiver’s

 sale consists of residential real property more specifically described as follows:

                Owner: Manuel Lozano

                Folio No. 32-2021-014-0190

                Location: 9164 NW 146th Terrace, Miami Lakes, Florida

                Legal Description: Lot 19A, Block 8, of FLORIDA TROPICAL
                ESTATES SECTION 4, according to the Plat thereof, recorded in
                Plat Book 145, Page 22, of the Public Records of Miami-Dade
                County, Florida (the “Property”).



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        2.        The Court finds that the sale of the Property is necessary to repay the outstanding

 restitution obligation of Defendant, Lozano, in whole or in part. The purchase price of $385,000.00

 offered by Jenny Varela (the “Buyer”) is reasonable and represents the fair market value of the

 Property according to the Receiver.

        3.        The Receiver’s Agreement for Purchase and Sale of the Property for $385,000.00 (the

 “Purchase Agreement”) is hereby approved and the Court authorizes, approves, and orders the Sale

 of the Property to the Buyer based on the terms and conditions of the Purchase Agreement attached

 to the Receiver’s Motion to Approve Sale. (The Receiver’s sale of the Property is referred to in this

 Order as the “Sale”).

        4.        The Receiver and closing agent are authorized to disburse and pay all customary

 closing costs from the proceeds of the Sale and any undisputed mortgages or other encumbrances

 against the Property, provided same, if any, are superior in priority to the judgment lien held by the

 United States.

        5.        The Receiver’s fee and reimbursement of expenses shall be considered by the Court

 by separate motion filed on behalf of the Receiver.

        6.        The net proceeds from the Sale of the Property remaining after all closing costs,

 expenses, and approved Receiver’s and attorney fees (the “Net Proceeds”), shall be delivered to the

 United States by wire transfer or certified funds made payable to the Clerk of Court, United States

 District Court, Southern District of Florida, Financial Section, 400 N. Miami Avenue, 8th Floor

 North, Miami, Florida 33128. The Clerk of Court shall disburse the Net Proceeds for restitution

 pursuant to 18 U.S.C. §3612 and said disbursement shall be applied to the outstanding restitution

 obligation of Defendant, Manuel Lozano.


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         7.      In order to facilitate and complete the sale of the Property, the Receiver is authorized

 and directed to make, execute, convey, and deliver to the Buyer such Deeds, Bills of Sale,

 Assignments, Certificates, Affidavits, Indemnifications, Resolutions and any other documents or

 instruments required in connection with the Sale of the Property, with such terms and provisions as

 the Receiver deems appropriate, and including all supplements and amendments to same.

         8.      The Receiver may seek additional approval or direction from the Court related to the

 Sale on an expedited basis as the Receiver may deem necessary to facilitate the closing and any other

 issues concerning the Sale, including, but not limited to, proceedings supplementary for any third

 parties that may be necessary to effect the Sale.

         9.      Upon recording this order in the Official Records of Miami-Dade County, Florida,

 any purchaser, title insurer or agent, mortgage lender, or other interested party: (a) shall be entitled

 to rely upon this Order as sole and conclusive evidence of the full and unrestricted right and authority

 of the Receiver to consummate the Sale, convey title to the Property to the Buyer or its assigns, and

 execute and deliver all instruments of conveyance, closing documents and all other agreements and

 collect and disburse funds required in connection therewith; and (b) shall be fully protected by the

 effect of this Order Approving Sale permitting the transfer and conveyance of the Property.

         DONE AND ORDERED this 20th day of May, 2014 in Miami, Florida.




                                                         JOAN A. LENARD
                                                         UNITED STATES DISTRICT JUDGE

 Copies furnished to:
 Counsel of record



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